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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.                            NO. 4:12CR-00143-05-KGB

MILTON L. LAWS, JR.                                                         DEFENDANT


                                         ORDER

       The United States has filed a motion for revocation of pretrial release. (Docket

entry #141) A hearing on the motion is scheduled for December 10, 2013, at 2:00 p.m.

before United States Magistrate Judge Beth Deere.

       The Clerk is directed to issue a summons to Defendant Milton L. Laws, Jr., and

deliver to the United States Marshal for service, directing his appearance at the hearing to

show cause why pretrial release should not be revoked.

       IT IS SO ORDERED this 27th day of November, 2013.



                                          ____________________________________
                                          UNITED STATES MAGISTRATE JUDGE
